                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )   NO. 2:19-cr-00013
                                                  )
 GEORGIANNA A.M. GIAMPIETRO,                      )
                                                  )
         Defendant.                               )


                                            ORDER

        Pursuant to 18 U.S.C. App. III § 9; Classified Information Procedures Act, Pub. L. No. 96-

456, § 9, 94 Stat. 2029 (1980) and paragraph 2 of the Security Procedures established pursuant to

Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the protection of

classified information, the Court appoints Carli Rodriguez-Feo for the position of Classified

Information Security Officer in the above-captioned matter.       The Court appoints Daniel O.

Hartenstine and Harry J. Rucker as Alternate Classified Security Officers for this case.

        IT IS SO ORDERED.



                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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